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UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK \) DOC #:
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UNITED STATES OF AMERICA,

 

-against- 11-cv-0691 (LAK)

STEVEN DONZIGER,
Defendant.
ORDER TO SHOW CAUSE WHY DEFENDANT STEVEN DONZIGER
SHOULD NOT BE HELD IN CRIMINAL CONTEMPT

LEwIS A. KAPLAN, District Judge.

Steven Donziger is hereby

ORDERED, pursuant to Fed. R. Crim. P. 42, to show cause at a trial beginning at 9:30
a.m. on September 23, 2019 or such later date as the Court may fix, before the Honorable Loretta A.
Preska, District Judge, in the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York, New
York 10007, Courtroom 12A, why he should not be held in criminal contempt of court, pursuant to 18

US.C. §§ 401(3) and 2 and Fed. R. Crim. P. 42, on the following grounds:

COUNT I
(Forensic Inspection Protocol { 4)

1. On or about March 5, 2019, this Court entered an order in Chevron Corporation
v. Steven Donziger, ef al., 11-cv-691 (LAK), entitled Forensic Inspection Protocol (the “Protocol”).
2. Paragraph 4 of the Protocol provides:
“Within three (3) business days of entry of this Protocol, defendant Steven

Donziger (‘Donziger’) shall provide to both the Neutral and Chevron’s Forensic
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Experts via email a representation listing under penalty of perjury all devices he has
used to access or store information or for communication since March 4, 2012 —
including, but not limited to, personal computers, tablets, phones, and external storage
devices, such as external hard drives and thumb drives — (the ‘Devices’), indicating for
each of the Devices whether he has possession, custody, or control of the Devices and,
if not, stating the reasons why that is so, i.e., whether they were destroyed, lost, etc, and
the present location ofthe Devices. Additionally, Donziger shall produce under penalty
of perjury a list ofall accounts — including, but not limited to, email accounts (including
web-based email accounts); accounts (including web- or cloud-based) related to any
document management services, such as Dropbox; and accounts related to any
messaging services, such as WhatsApp, Facebook Messenger, instant messages, etc. —
Denziger has used since March 4, 2012 (the ‘Media’), indicating whether he presently
has the ability to access those accounts and, if not, stating the reasons why that is so.
At this time, prior discovery has revealed that Donziger used the following types of
accounts to conduct business related to the Ecuadorian judgment:

a} Email addresses, including, but not limited to,
sdonziger@donzigerandassociates.com, stevenrdonziger@gmail.com,
steven.donziger@donfordcapital.com, and gringograndote@gmail.com;

b) A Dropbox account; and

c) A WhatsApp account.”

3. Donziger, in disobedience of paragraph 4 of the Protocol, knowingly and

wilfully failed fully to comply with the requirements thereof for all or part of the period commencing
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on March 8, 2019 to and including May 28, 2019.

(18 U.S.C. § 401(3))

COUNT IE
(Forensic Inspection Protocol { 5)
4, The Court repeats and reaileges each of the allegations of paragraphs | through 3 hereof.
5. Paragraph 5 of the Protocol provides:

“The Neutral Forensic Expert shall take possession of Donziger’s Devices and
have access to his Media for the purposes of making a mirror image of those Devices
and Media. The Devices shall be surrendered to the Neutral Forensic Expert at
Donziger’s address at 245 West 104th Street, #7D, New York, NY 10025. The Neutral
Forensic Expert shall take possession, custody, and control of the Devices and transport
them directly to its offices for the imaging described herein. The devices shall be
surrendered to the Neutral Forensic Expert at 12:00 pm at 245 West 104th Street, #7D,
New York, NY 10025 on March 18, 2019. Atno time shall Chevron’s Forensic Expert
have access to the original Devices or to live Media accounts absent further Court
order,

a) On the date and time specified per the above, Donziger shall turn over

all Devices in his possession, custody, or contro! to the Neutral Forensic Expert.

Additionally, to the extent information contained in any of Donziger’s
accounts/media is not stored on any of Donziger’s available Devices, Donziger

shall provide the Neutral Forensic Expert with the information and/or things
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necessary to access and image his accounts and media. The Devices shall be
returned to Donziger without unnecessary delay after the completion of the
imaging required herein by the Neutral Forensic Expert.

b) Ifany user names, passwords, or other information is required to access
any of the electronically stored information on any of the produced Devices or
Media, Donziger shall provide such usernames, passwords, and other
information to the Neutral Forensic Expert at the time of the imaging. Such
information shall be kept strictly confidential by the Neutral Forensic Expert.
c) Before beginning any work on the Devices and Media, the Neutral
Forensic Expert will utilize a hardware write block device on the Devices and
Media in order to protect the integrity of the existing data (or other techniques
standard in the industry to protect the integrity of data).

d) The Neutral Forensic Expert will create full forensic images of each
Device and Media/Account. The forensic images of each shail include, to the
extent possible, allocated, unallocated, and host protected areas, As part of the
creation of the forensic images, the Neutral Forensic Expert will record on a
log, where applicable: (1) the date and time at which the Device or Media was
provided for forensic imaging and the date and time at which the Device or
Media was imaged; (2) the time set in the BIOS or system clock at the time of
imaging; (3) the “boot order” recorded in the BIOS of the Device or Media at
the time of imaging; (4) the make, model, and serial number of the Device; (5)

the username associated with any Media; (6) any identifying marks or labels on
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any Device or Media; (7) the tool and/or method used to create the forensic
images; and (8} MD5 and SHAI hash values of the data collected from the
Device or Media.
e) Upon compietion ofthe imaging, the Neutral Forensic Expert will verify
the resulting forensic images by executing the form attached hereto as Exhibit
A and return the Devices and Media to Donziger.
f) The Neutral Forensic Expert then will create four (4) identical copies
of the images of Donziger’s Devices and Media, which shall be written to
encrypted drives for security purposes. Within two (2) calendar days of the
imaging of Donziger’s Devices and Media, one copy shall be provided to
Donziger, two copies shall be lodged with the Clerk of Court in a sealed
envelope, and one copy shall be retained by the Neutral Forensic Expert. The
Neutral Forensic Expert shall maintain the set of images created from
Donziger’s original Devices and Media unexamined and unaltered until
further order from the Court. The Neutral Forensic Expert shall use the copy
of the images that it retains for searches and analysis as proscribed by this
Protocol.”
6. Donziger, in disobedience of paragraph 5 of the Protocol, knowingly and
wilfully failed to comply with the requirements thereof commencing on or about March 18, 2019 to at
least on or about May 28, 2019.

(18 U.S.C, § 401(3))
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COUNT Ti
(Passport Surrender Order)
7. On June 11, 2019, this Court entered an order that provided in relevant part that:

“Donziger, on or before June 12, 2019 at 4 p.m., shall surrender to the Clerk of
the Court each and every passport issued to him by each and every nation to
have issued a passport to him, the Clerk to retain possession thereof unless and
until this Court determines that Donziger has complied fully with paragraphs
4 and 5 of the Protocol.”

8. Said order was served on Donziger electronically on June 11, 2019.

9. Donziger, in disobedience of said order, knowingly and wilfully failed to comply

with the requirements thereof by the required time or thereafter. |

(18 U.S.C. § 401(3))

COUNT IV
(RICO Judgment { 1 —- 2011 Retainer Agreement)
10. On March 4, 2014, this Court entered a judgment (the “RICO Judgment”) in
Chevron Corporation v. Steven Donziger, ef af, 11-cv-691 (LAK) against Donziger, among others.
11. The RICO Judgment contained the following definitions, among others:
(a) ““ Amazonia’ means Amazonia Recovery Limited, an entity registered
in Gibralter, together with its successors and assigns.”
(b)  “Donziger Defendants’ means Steven Donziger, The Law Offices of

Steven R. Donziger, and Donziger Associates PLLC collectively.”
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(c) “Donziger’ means the Donziger Defendants, and each of them, unless
the text hereof otherwise provides.”

(d) “<Judgment’ means the judgment entered in the Lago Agrio Case on
February 14, 2011 as modified by subsequent proceedings.” (This Judgment
hereinafter is referred to as the “Ecuador Judgment”).

(e) “Tago Agrio Case’ means Lawsuit No. 2003-0002, entitled Maria
Aguinda y Otros y. Chevron Corporation, in the Sucumbios Provincial Court of
Justice of the Republic of Ecuador and all appeals with respect to any judgment,
order or decree entered therein.”

(H ““Retainer Agreement’ means the agreement, dated as of January 5,
2011, between and among (a) each of the individual plaintiffs in the Lago Agrio
Case, together with their respective successors and assigns, (b) the ADF, (c) the
Assembly, and (d) Donziger & Associates, PLLC, together with its successors and.
assigns and all successors to and predecessors of the Retainer Agreement,”

3. Paragraph 1 of the RICO Judgment provided:
“The Court hereby imposes a constructive trust for the benefit of

Chevron on all property, whether personal or real, tangible or intangible,

vested or contingent, that Donziger has received, or hereafter may receive,

directly or indirectly, or to which Donziger now has, or hereafter obtains, any
right, title or interest, directly or indirectly, that is traceable to the Judgment
or the enforcement of the Judgment anywhere in the world including, without

limitation, all rights to any contingent fee under the Retainer Agreement and
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all stock in Amazonia. Donziger shail transfer and forthwith assign to
Chevron all such property that he now has or hereafter may obtain.”
12. At all times from March 4, 2014 to and including the date of this order,
Donziger owned and controlled Donziger & Associates, PLLC, a/k/a Donziger Associates PLLC,
a/k/a Donziger and Associates, PLLC.
13. At all times from March 4, 2014 to and including September 3, 2018,
Donziger, directly or indirectly, and Donziger & Associates PLLC had property that was traceable
to the Ecuador Judgment.
14, At all times from March 4, 2014 to and including September 3, 2018,
Donziger, in disobedience of paragraph 1 of the RICO Judgment, knowingly and wilfully failed and
refused to transfer or assign to Chevron property that he then had, directly or indirectly, traceable to
the Ecuador Judgment, to wit, contractual rights to a contingent fee under the Retainer Agreement
as that term is defined in the RICO Judgment, and knowingly and wilfully caused Donziger &
Associates to fail and refuse to transfer said property.

(18 U.S.C. §§ 401(3) and 2)

COUNT V
(RICO Judgment { 1 — ADF Contingent Fee Grant)
15. The Court repeats and realleges each of the allegations of paragraphs 10
through 12 above.
16, On or about November 1, 2017, The Frente de Defensa de la Amazonia

(“Amazon Defense Front” or “ADF”), the sole beneficiary of a “Judgment,” as that term is defined
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in the RICO Judgment, granted to Donziger a property right traceable to the Ecuador Judgment, to
wit, “an INTEREST in his own right equal to Mr. DONZIGER’s existing contractual INTEREST.
Such INTEREST, in any case, shall be understood to entitle Mr. DONZIGER to 6.3% of any FUNDS
RECOVERED , ,.” in connection with the Lago Agrio Case or the Ecuador Judgment (the “ADF
Property Right”).

17. Donziger had the ADF Property Right on or about November 1, 2017 and at
all times.from that date to and including May 27, 2019.

18, Atall times from on or about November 1, 2017 to on or about May 27, 2019,
Donziger, in disobedience of paragraph 1 of the RICO Judgment, knowingly and wilfully failed and
refused to transfer or assign to Chevron property that he then had, to wit, the ADF Property Right.

(18 U.S.C. § 401(3))

COUNT VI
(RICO Judgment {[ 5 — Personal Interest)
19. The Court repeats and realleges each of the allegations of paragraphs 10 and
11 above.

20. Paragraph 5 of the RICO Judgment provides in relevant part:

‘Donziger..,is hereby further enjoined and restrained from undertaking any
acts to monetize or profit from the Judgment, as modified or amended, or any New
Judgment, including without limitation by selling, assigning, pledging, transferring
or encumbering any interest therein.”

21. Onor about December 23, 2016, Donziger, in disobedience of paragraph 5
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of the RICO Judgment, knowingly and wilfully acted to monetize or profit from the Ecuador
Judgment, to wit, by selling, assigning, pledging, transferring or encumbering a portion of his own
personal interest in the Ecuador Judgment in exchange for personal services.

(18 U.S.C. § 401(3))

It is further
ORDERED, that the defendant appear personally before the Honorable Loretta A.

Preska, District Judge, in the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York,

    
 
 

New York 10007, Courtroom 12A on August 6, 2019 at 19:00 am fo witial copfprence.
Dated: July 30, 2019
{AAAI J

LeWis A. Kaplan
United States District Judge
